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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

JINJIANGSHISILULIANGPINJINCHUKOUMAOYI
CO., LTD.
                                                              Plaintiff,
v.                                                                         Case No.:
                                                                           1:23−cv−04687
                                                                           Honorable Martha
                                                                           M. Pacold
The Entities and Individuals Identified in Annex A
                                                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 3, 2023:


        MINUTE entry before the Honorable Martha M. Pacold: Plaintiff's motion for a
temporary restraining order, including a temporary injunction, a temporary asset restraint,
and expedited discovery [6] is granted. Plaintiff's filings support proceeding (for the time
being) on an ex parte basis. Specifically, were defendants to be informed of this
proceeding before a TRO could issue, it is likely assets and websites would be redirected,
thus defeating plaintiff's interests in identifying defendants, stopping defendants'
infringing conduct, and obtaining an accounting. In addition, the evidence submitted by
plaintiff shows a substantial likelihood of success on the merits (including evidence of
active infringement and sales into Illinois), the harm to plaintiff is irreparable, and an
injunction is in the public interest. As other judges in this district have noted, there may be
reason to question both the propriety of the joinder of all defendants in this one action and
whether plaintiff genuinely intends to pursue an accounting, but at this preliminary stage,
plaintiff has provided sufficient evidence of coordinated activity and the prospect of an
accounting to justify the requested relief as to all defendants. Expedited discovery is
warranted to identify defendants and to implement the asset freeze. If any defendant
timely appears and objects, the court will revisit the asset freeze and joinder. Plaintiff shall
deposit with the Clerk of Court ten thousand dollars ($10,000.00), either cash or surety
bond, as security. (rao, )




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